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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________

MARNIE O'BRIEN,                            :
                      Plaintiff,           :
                                           :
                  v.                       :                  Civil No. 2:19-cv-06078-JMG
                                          :
THE MIDDLE EAST FORUM, et al.,            :
                  Defendants.              :
__________________________________________

                                        AMENDED ORDER

       AND NOW, this 4th day of August, 2021, it is ORDERED that all transcripts that have

under seal portions for this trial in the above-captioned case are SEALED and IMPOUNDED

until further order of this court. Counsel of record for any party in this case may have access to

the transcript or transcripts without seeking permission from the court.



                                             BY THE COURT:



                                             /s/ John M. Gallagher
                                             JOHN M. GALLAGHER
                                             United States District Court Judge
